Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 1of 8

Exhibit C

The Kindest

American Short Fiction Version

Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 2 of 8

The Kindest

Sonya Larson

When I was dying, people were nicer to me. Nurses washed my hair. Old
teachers and old roommates and total randoms came to see me, kissing
my bandaged hand. Bao brought me underwear and slept beside me on
a chair. Mom flew from Philly, Dad from North Dakota, and Sui from
Xian, all the way across the planet. The flowers! The questions! What
hurts? How much? | was scared, and they wanted to hear all about it.
No one said, Why? or How come? or How could you? No one rolled their
eyes or said, Well Fd better get going. They didn’t let me smoke, but I saw
them mull it over, as if to say, Well it isn’t going to Kill her. They leaned
forward. They were riveted. They were hungry and I was their food.

Getting born must be like that. If you could remember. But you can’t.

Then along came my Angel. Areal one, too: no accident of her own,
no sudden-onset anything. She wasn’t dead, and she wasn’t even doing
a chain thing, aimed ultimately at saving her husband or her sister or
her very best bud.

It was just that she had two kidneys, and she needed only one. And
on top of that, grinned the surgeon: we matched.

That nighta thin tube dripped cold dreams into my elbow. Bao squeezed
my fingers and kissed the cross around his neck. “It’s happening,” he said.

It’s happening? I tried to speak but my throat felt stuffed with rags.
Beyond my eyelids Bao stammered mutely, like a face in a flipbook. I
counted backward and drifted down a valley of misty waterfalls.

A finger snapped. I woke to the sight of my husband crying into his
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 3 of 8

50 AMERICAN SHORT FICTION

hands, overwhelmed like I’ve never seen him. “Bao?” said my voice.
“Raby!” He leapt from his chair and wedged his eager arms underneath
me, and we were laughing, and the laughter felt strange traveling up my
lungs, like a language I was remembering only now. Even the ceiling
looked new: large tiles sprayed freely with black dots of so many shapes
and sizes. Icould see in them intricate patterns, like constellations in stars.
Bao looked up too, but his eyes were somewhere else. “How can
we ever thank her?” he said, so joyful he was enraged. “How? How?”
The people gathered around me. They shook the surgeon’s hand,
clinked champagne over my bed. It spilled on the sheet, it spilled on me.
Night came. The people left. They said, Thank God this was behind us.
They said, It’s time we got some rest. Bao pried my fingers off his arm as
nurses rolled me behind curtains, putting a tube in my hand, witha button
for trouble, Lights went dark, fans slowed to a stop. A janitor wheeled a
bucket down a hall. And there was I: blinking fool, alone in my anger just
like they always wanted. At3:13 a.m. Istarted buzzing on the tube—listening
for echoes, for shouts, for footsteps come running. I buzzed and buzzed. f
jammed it with my thumb. I wanted to know didn’t anybody give a shit.

I got better. They brought me home. I learned to angle my wheelchair,
then stand, take a step. Weeks went by—four long months~strength

creeping into my neck, my arms, my back. Bao whirred loose the screws

of the handrails. Little dark holes rermained in the walls, damp with

stray fibers, and when I touched them I remembered where the smooth

cold metal had been. I found the Mount Rushmore coffee mug, rolled

behind the washing machine and miraculously intact. Even my hands

hardened with muscle. On my pelvis a new scar stretched in a cracked

smile. I poked it when I sat on the toilet, the pain underneath still
tender. Who’s in there? I thought. Who are you?

Okay. So we no longer had a car. But Bao didn’t seem angry. Instead
he was grateful, dutiful, the person he used to be. He poured me my Froot
Loops. He borrowed a bicycle and used that. I was still sleeping on the
rollaway, worried that somehow P'd now be bad at sex. But Bao didn’t seem
to mind. Instead he looked at me each day like I was worth something
immeasurable. After a while I started getting the hang of that too.

Little things amazed me. The smooth curves of the teakettle, dotted

SONYA LARSON 51

with moisture.

Tree needles, sprayed out and brushing the window in a breeze.

More and more the hospital seemed far away: its shiny boxes, relent-
lessly clean.

From the basement Bao brought up Grandma’s zitan chair. He slid
off the sheet, eased it to the table, smoothed its legs with a damp silver
cloth. 1 lowered myself onto the bony cushion, thumbing the grooves
of dragon tails that curled down the armrests. Suddenly the chair
seemed too big for me, too grand. But that was ridiculous—when
Grandma was alive she would fart all over this thing. I scooched my
butt, got comfy. Bao folded up the wheelchair. To the curb went the
crutches, the walker, both canes. We could have recycled them or given
them away, but we liked watching the garbage men hurl them into the
truck, those grimy walls descending to slurp them up for good.

Right about then the letter shows up.

Bao was at work. It was a sunny, ignorant day.

Itcamein the mailbox: real envelope and paper and gold sticker sealing
the flap. It was wrapped in a second letter from the surgeon, his boxy hand-
writing rushed with loops of fervor. So awestruck was he by the selflessness
involved that he just had to chaperone the missive himself. [looked at his
letter. [thought that doctors couidn’t write at all, not even their own names.

Then came hers. She had used anotepad shaped like a daisy. Blue gel pen.

Dear Recipient,

My name is Rose Rothario. I’m a thirty-eight-year-old white female, and
I live in Greater Boston.

In 2017 Isaw a documentary about altruistic kidney donation, and as
the credits rolled Lfeit wholly dismayed by the daily experiences of those
in need. Equipped with this new awareness, I set forth on a journey to
offer a great gift, to do my part in bettering a fellow human’s life.

I shook open the letter. Six whole daisy pages. Stuff about her
surgery, the prep, the PT. It went on.

I'm so grateful to the MGH transplant team, who held my hand from
my very first blood test to the date of our paired exchange. I myself know
something of suffering, but from those experiences I’ve acquired both
courage and perseverance. I’ve also learned to appreciate the hardship
that others are going through, no matter how foreign. Whatever you’ve
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 4 of 8

$2 AMERICAN SHORT FICTION

endured, remember that you are never alone.

A few things about me: I like sailing, camping, jewelry, and cats.

As I prepared to make this donation, I drew strength from knowing
that my recipient would get a second chance at life. withstood the pain
by imagining and rejoicing in YOU,

I stared at the YOU, underlined three times.

Now I smile at the thought that you are enjoying renewed health. You
deserve all that life has to offer, simply because you exist.

If you are willing, I would love to know more about you. Perhaps we
could meet. But if you prefer not to, I accept that reaction as well.

Warmly,
Rose M. Rothario

There was a photograph. She was tall, slender, a bursting ponytail har-
nessed to one side. Scissors had cut away the image near her shoulder,
as if to remove somebody who'd been standing beside her. [held it to
my nose, but it just smelled like a photograph: paper and faint glue,
with no whiff ofa particular person. She was at some county fair. She
was around my age. She was standing by a Tilt-A-Whirl, surrounded by
blurry feet, holding a rainbow-swirled lollipop in her fist.

So her name was Rose.

I wanted a cigarette.

But I didn’t have one. Bao was at work. Sui was in Xian, obviously
asleep. Dad in Bismarck and Mom in Philly, but they had never been
any help at ail.

Thobbled to the kitchen, opened the cupboard. A stupid move—what
did 1 expect? No car and no booze. I looked for the mouthwash, the
vanilla extract, that vial of Estée Lauder. But Bao had done a full sweep.

Isat on the couch. I breathed in and out.

At some point Bao came home. I woke to see him scanning the letter
sprayed across the table, wearing red bike shorts circled with sweat,
Bao in bike shorts! He looked like no one I knew. Justa stranger pausing
to examine a map. He read the whole thing standing up, helmet still
on. “Wow,” he said, blinking at the wall.

“T know,” I said.

“Where did she come from?”

“How should know?” I said, sounding ugly. But Bao didn’t seem to
hear; he was glancing frantically around our house.

SONYA LARSON 53

“We need to do something,” he said. “We need to show our thanks.”
“Of course,” Isaid, though that wasn’t what I'd been thinking at all.
But all of this gratitude: it shut me up.

There was some debate over who should make the call. “Can you
do it?” I said. “Can you say I’m still recovering?”

Bao frowned and unclicked his helmet. He puiled at the Velcro
straps on his gloves. Okay: I could see that he didn’t want to. But when I
was dying he’d stopped saying no, and the habit~for now—was sticking.
Isaw indecision worming under his face. Ilet it. Finally he went to the
kitchen and beeped forcefully at the microwave.

We washed the dishes. We dried them. Then Bao called her up. He
was nervous, chewing rapidly on a wedge of Big Red that I could smell
from the couch. I could see that he wanted a drink. [hugged my knees,
bending to suck the wet collar of my sweatshirt.

Bao’s voice twisted to a whole new register, leaping to each sentence
like he was competing for enthusiasm. “We would love, love, love to have
you,” he said. held still. Bao never love, love, loved anything. “Her name
is Chuntao. That’s Shun, tow-oo. No, no. It would be an honor for us.”

Arrangements were made, She would come on Thursday. Suddenly the
whole house looked barbarically disarrayed—the faded curtains, outdated
carpet, objects that made no sense, revealing our vulgarities. That old
panicky feeling. I imagined her perched on this sagging couch, tanned
legs too long to fold under the coffee table. It was too late to change the
cabinets, too late to paint the trims. This wasn’t a place where we chummmed
out with gnests. This wasn’t a place where people wanted to hang.

She would come at 11 a.m. “What do we get her?” said Bao, shaking
his head. He laughed in choked bursts. “Your other kidney? Your spleen?”

I wanted to be sick, to hide under the table. I said that I’é better get
going—there’s this yoga thing at seven. “That’s great, baby.” Bao smiled,
startled, like someone slapped across the face. “Good for you.” He hurried
his gloves back on. “I'd better get a haircut. And something we can cook.”

“Okay,” I said, standing as he left like I was about to put on my shoes.

But I didn’t. Instead I dropped to the couch, scanned my phone. Did
you take your Xyletenol? Morn had written. U ok? said Sui. Where did u
go? lignored them all and played Angry Birds. They weren’t writing to
check in. They were writing to check.
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 5of 8

$4 AMERICAN SHORT FICTION

In the morning I went to the basement. Looked for something
sentimental. On some boxes were a wine decanter, a stereo system,
seratched roller blades, ajar of batteries, A ceramic Christmas tree that
lit up, a velvet painting of John Wayne. An exercise ball with some wind
chimes slumped on top. I thought about the wind chimes. They were
nice, IE could dust them off. But all these things had to do with me, not
my Angel. She needed something that meant something. Like a pint
of my own blood. Nothing worked.

I figured out the bus. F went to Target. And oh my God: the white
floor tiles: so shiny! They reflected the fluorescents gleaming overhead,
as if the whole place were lit from under my feet. The shopping cart
wheeled over each blip of tile—so smooth. Glossy loops ofblond samples
down aisles of hair dye—delightful! I grabbed shampoo, a pack of Slims
(oh, sweet aroma through the plastic), and a can of white paint.

Ithought about a card. I went to Thank You and Thank You for Her.
Fanned through the options of embossed sayings. “Life is measured
not by the number of breaths we take, but by the moments that take
our breath away.” Um. Can you say no way? i stuffed them back and
went to Accessories. She said she liked jewelry, so.

1 loaded up. I was tearing stuff off the spinning Y-shaped displays.
Clinking necklaces and heavy bangles and crystal rings and something
called atoe clutch. A dozen watches—who wore watches? I hada field day. I
filled my cart like they do in the movies whena shooter’s on the loose or the
neighborhood's on fire, grabbing for my Angel like Inever would for myself.

At checkout the glittering pile moved down the conveyor belt. The
girl beeped her gun around the stash and said that'll be $193.80.

She looked through my face. She wanted to know did I want to put some-

| thing back. Um, yeah, you think? So I came home with a pendant, the toe

clutch, and two bracelets on clearance. $34.17 total. But nobody would know.

“What in God’s name?” said Bao. He found me kneeling on newspa-
per in the foyer, holding a paintbrush wet with harsh chemicals.

“Our trims,” Isaid. “They’re a wreck.”

Bao breathed through his nostrils. “Baby,” he said. “This isn’t

taking it easy.”

“I know, I know.” I tried getting to my feet, but pain like a snapped
trap unfolded with my body. Bao grabbed my arm. I was dizzy and
restless. I didn’t know what to do. I didn’t want her here.

SONYA LARSON 55

“Can you move your stuff? said Bao. I wiped down the coffee table. 1
gathered the crap on the staircase.

ripped the tags off the jewelry and rummaged for a box. No box. I
fetched a Gladware and buried them in there with Kleenex, pretty-like.
Found an old gift certificate to Olive Garden and put thatin too. Wrapped
itup—technically Christmas paper, red with snowflakes, but pretty ambig-
vous, and anyway it was November, No card. What was Isupposed to say?

Bao painted some crackers with cream cheese. 1 warmed potato skins.

“We cooked!” he said, marching the plate to the livingroom. I watched his
excitement. J] wanted a drink. Instead I went to the fridge and checked
on my appie juice. Slipped into my pocket two harmless Slims.

At 10:56 a.m. the doorbell went off. Bao almost dropped the plate
in his rush to the door. I stayed behind, neatening things, my fingers
shaking rudely like they belonged to someone else.

I heard her voice before I saw her, So much exclaiming, hugging,
everything loud. They came gliding toward me, Bao grinning anxiously
and searching my face. She was even more radiant than the photo.
Slightly older-looking—crinkly eyes, thin hair—but emanating a glow
that no camera could capture without filters. Out came her arm and her
long, elegant hand, the delicate fingernails, tips creamy white.

“Baby?” said Bao. His eyebrows urged me on.

“Hil” T said. “Hi hi hi. Come in, come in.” I guess I was staring. We
shook. Her hands were cold from being outside. Mine were sweaty, and I
wiped them on my pants, though I worried maybe that would look mide,
like I didn’t want her germs. I watched her shoes, two sculptures of soft
green suede. She was too shiny to look at. It was like squinting at the sun.

“This,” she said, eyes probing my socks, my sweatshirt, the whole
of me, “is incredible.”

“Right on,” I said. “Sorry. I feel super weird right now.”

The lips of Rose Rothario spread in a generous smile. “Ecan’t believe
it either, Chuntao. Am I saying it correctly?” I nodded that she was.
She placed her hand on her chest. She gazed around our house, at our
weird stuff and the carpet slashed with lines from the vacuum cleaner.

Bao chatted with Rose Rothario, both nodding vigorously. The cre-
scendo ofa siren, of trucks guzzling by: the voice of Rose Rothario rose
above them all. it was like a singing melody, exuberant and controlled.
She stepped around our living room. Bao followed, explaining photos
and stuff on the mantel, a breeze of high-pitched peaches trailing in
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 6 of 8

56 AMERICAN SHORT FICTION

her wake. I felt like a zoo animal, watching onlookers shuffle to more
interesting exhibits. Suddenly my arms were too long, hair was sticking
to my face. At least they were moving, killing time.

“Ts this a family heirloom?” Rose Rothario lifted her glasses from
her nose. She bent to examine the carvings on the zitan chair.

“I guess $0,” said Bao, hands folded like a docent. “It’s Chuntao’s.”

“It’s mine,” I said.

“It’s a stunning relic,” said Rose Rothario, roving her eyes along the
back, the armrests, the deflated cushion. A stunning relic? It was a chair.
limagined Grandma hunched in the seat, raising her furry eyebrows,
wondering, Who the hell?

Bao suggested that we sit around the coffee table. “We got some
snacks,” he said. “Nothing special.”

“Oh my goodness,” said Rose Rothario, admiring the Ritz crackers
fanned around the plate. [hated the sight of them: everything the same
pale color. But Rose didn’t seem to care. She sat, folding her skirt and
holding her abdomen on the way down. I wondered if it hurt: the hole
inside of her. Iwondered if she missed it. But I sort of didn’t want to know.

We faced each other, the triangle of us. Nobody ate. Finally llifted
a cracker and put it in my mouth. It tasted like nothing, like water, just
cold and crumbs and creamy stuff, mashing around.

“You sure don’t look like you just had surgery,” Bao said to Rose
Rothario. I passed around sore coasters.

“Thank you. Gosh.” She seemed to grin uncontrollably. “Everyone’s
been so supportive. So many cards and flowers. And from people you'd
never expect.” I went in for my apple juice. The eyes of Rose Rothario
snagged on my glass, following my hand as it floated from the table to
my lips. “Is that wine?” she said.

Estopped mid-sip. “No. It’s a Welch’s.”

“Qh!” she said, bursting into a nervous smile. “Ha ha ha.” She peered
at Bao, then at me, then at the hands in her lap.

We were quiet. I drank my drink. And I tried to remember the things
I've had to learn: dom’ t react, don’t react. I tipped back into the cushions,
the air fuzzy with shapes and colors. Bao and Rose Rothario discussed
the neighborhoods of Shelby—which restaurants were nice and which
ones you should skip. They were talking holidays or somebody’s pet
or the best commute from this place to that. “But this neighborhood
is also beautiful,” she said, ridiculously. “Do you like to go for walks?”

SONYA LARSON 57

“We're definitely going to,” said Bao. “We’re going to get into that.”

“Not me,” I said, swirling my glass. “I’m still healing. So, yeah.”

Bao cleared his throat. Rose Rothario studied me tenderly. “Of course,”
she said. “I found that yoga and gentle stretching were all I could doat first.”

“Pye been thinking about the yoga,” I said. “But I bet I’d be bad.”

“Maybe Rose could teach you,” said Bao.

The woman’s eyes perked up. “Truly?”

He nodded and tipped his drink in her direction. “You could go
together, You could show her the ropes.”

“T could show you the ropes,” said Rose, turning to smile at me. My
face must have been doing something, because then she said, “Or. We
could not. Whatever you prefer.”

“What? What?” Bao gaped at me, hands up in surrender. “I thought
you wanted someone to go with!”

Rose waved everyone off the subject. “It’s really not important.”
She smoothed her skirt. “It’s okay, Bao.” And I didn’t like her saying
my husband’s name.

“Excuse me,” said Bao, and he stood up to make for the bathroom.

I followed him. Inched open the door and slipped myself inside,
where Bao was peeing into the toilet. “Are you out of your mind?” he
hissed in a soft-loud voice.

Thissed back. “Yoga with her? Are you crazy? I would rather die.”

“That’s great,” said Bao, shaking and zipping his pants. “That’s just
what I want to hear.” He scrambled with his buckle and pushed past
me to the sink. “I happen to be thankful,” he said. “The woman saved
my wife, You--you scared the shit out of me. But then she comes along
and helps a person in need.”

“So I guess she’s asaint?” I said. “She’s the kindest bitch on the planet?”

“Can you just go be with her?” he said, hurrying a towel up his arms.

“Can you just go be a good person?”

“You go,” I said.

“No, you,” he said. And we stood there in the bathroom, panting
and scared of the woman in our house.

We exited. In the living room Rose was sitting pin-straight on the
couch, waiting just liked we'd left her, like somebody’s dog.

Bao squared his eyes on Rose Rothario. He clasped his hands. His
voice went soft. “Before we let another moment pass, Rose, we just want
to say... we just want to express to you...” He glared in my direction.
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 7 of 8

58 AMERICAN SHORT FICTION

But I couldn’t say it. His angry face made me want to say nothing at ail.
“T think Fl leave you two alone,” he said, rocking on his heels.
“What?” Isaid. Air leapt down my throat. “What for?”

But he wouldr’t look at me. “You must have a lot to say to each
other,” he said and jerked on his jacket. On the couch Rose Rothario sat
as stillas a statue, her eyes roving between us. In my head I pleaded to
my husband with every inch of my skin. Don’t. Don’t you dare.

But he snapped up his helmet. Rushed his feetinto shoes with theankles
smashed flat. And I felt through my heart the spear that would orphan me,

The click of the door left aloud and bristling silence. Like the world
tipping over. I was in my living room, I was standing on the carpet, a
bus rumbling by like it was any old day.

[hurried up and gave Rose her present. She practically squealed in delight,
there were little tears in her eyes. Isank into the cushions as Rose lifted the
pendant—long chain with a copper sunburst~and eased it over her head.
She hid the Gladware in her purse, saying she'd fully relish the rest later.

“Tt was fun to buy,” I said. “I had to figure out the bus, but that was
actually totally fine.”

Rose Rothario frowned, leaning forward. “Forgive me, but I was
told there was an accident.”

“Yup,” I said.

She bit her worried lip. “That must have been terrifying.”

“You bet,” I said, but the truth was that I couldn’t remember. I just
remembered going for my stash in the basement, the icy vodka in the
Mount Rushmore mug. Washing machine and stray coins vibrating
across. When had I decided te go downtown? How had I even gotten
to the car? It was the logic of a dream. “Trees!” I said, saluting with my
glass. “They come out of nowhere.”

“There was a storm?” She followed along with goony eyes.

“Big time,” I lied. I described fierce winds, driving hail, windshield
wipers that flapped like my hands. Imarveled at my voice, making this
stuff up. It sounded correct. “The dash slammed me ali over. They even
took out a rib—it was total smithereens.” I pointed at the torso of Rose
Rothario. “Hey, you got any extras in there?”

Ichuckled. Rose Rothario let out a strained little laugh. Immediately

SONYA LARSON 39

I felt terrible and wished that she would go. I thought about the ciga-
rettes--I’d told Bao I wouldn’t smoke in the house. But he had left, so.

Rose Rothario squeezed the hem of her skirt. “Has your recovery
been very difficult?”

Isipped my juice. “I’m not in recovery, ifthat’s what you're asking.”

“What?” she blinked. “Oh. That’s not what mean. II hope you know
that’s not what I mean.”

I could see that she was uncomfortable. So what? I leaned in for a
cracker and put the whole thing in my mouth. “I’m great,” Isaid. “Ican
walk up stairs, catch the bus.”

“¥ do find that yoga helps,” she said. “But still can’t sleep through
the night.”

“Me neither,” I said. “I keep getting up to pee.”

“I can hardly bend over to tie my shoes.”

“What a bitch,” I said.

Rose Rothario took a cracker and bit off an edge. She chewed in
silence. More and more it seemed hard for her to look at me. Her eyes
drifted to the window, to the ceiling, to her free hand in her lap. Finally
she turned my way, her jaw working the cracker, but she looked right
through me, as if to some far-off mountain. Then I realized. She was
eyeing my torso. She was thinking about her kidney, buried inside of
me. “Do take care of it,” she said quietly.

“You think that I wouldn’t?” I said.

“No, that’s not what I mean.” She turned away, waving off the
thought. “It’s yours, of course. Never mind. It’s yours now.”

“Well, sort of,” Isaid, feeling bad. “You gave it to me. It’s still sort of
yours.” She squirmed and knocked her knees together. “Hey,” I said,
leaning toward her. “Don’t you worry.” Her head lowered, hair shielding
her face. “So much is different now. I’m going to treat it so good. Pm
going to take good care.”

“Pm sure,” she said. “Of course.”

“Look,” I said, “I have to be honest with you.” I concentrated on
the limp hand in her lap. “I’m not really looking for connections right
now, Like I’m not really looking to hang out. Don’t get me wrong: ]am
way grateful. Like one hundred percent. But I’ve got too many friends
already. I can barely keep up.”

“Oh, no no no no,” she said. “P’m not interested in friendship.”

“Like [ don’t want to offend you, but.”
Case 1:19-cv-10203-IT Document 78-3 Filed 05/15/20 Page 8 of 8

60 AMERICAN SHORT FICTION

“I just wanted to meet you,” she said. “I just thought it would bea
meaningful experience.”
“tt is”? Isaid. “No doubt.”

Hooked up. She was chewing and cupping her palm to catch the crumbs.
My heart pooled with relief. Pd said what Ineeded to. Now she could leave.

But she didn’t. She kept on munching her cracker like that. What was she
waiting for? What did she want? “Is there something that you want?” I said.

And that’s when the face of Rose Rothario blotched and crumpled.
Her eyes squeezed up, her hair fell forward. She was crying into her
hand. The other hand pinched her bitten cracker, keeping it aloft. “P?'m
sorry,” she said. “It’s all just so much.”

I didn’t know what was happening. What I thought was: What is this,
this white woman, crying on my couch? Crying to me. I felt bad for her,
but [also wanted to slap her. Instead I leaned forward and put my hand
on Rose Rothario’s knee. It was warm, shivering, faceted with bone.

Her mouth contorted with sobs, articulating nothing. But I knew
what she was thinking. She was thinking it was supposed to be differ-
ent, “I hear you,” Isaid quietly. “When I was dying, people were nicer.”

Rose Rothario swallowed. “What—what are you saying?” She was
whimpering now, fingers pressed into her eyes like she didn’t want to look.

I saw my hand and I saw her knee. But they weren’t as sharp as the
thought in my head. That when J was dying none of it mattered: what I'd
done or what I was. People bared their love and thought 1 had my hands on it.

“T can’t explain,” J said. “Things were different. But now...”

Rose Rothario uncovered her shiny, bloated face. Then her fingers
fluttered down, and with no warning at all they rested themselves on
my hand. I flinched. Her skin was cold, hovering and weightless, but I
still could feel the warmth of her, pinning me.

“Have you told people about me?” she said.

I was tense, dutiful, careful not to move. “Of course,” I said.

“and what do they say?” Her eyes glistened, as if from hunger.

What do they say? Just: eager things, stunned things. Like people
who'd glimpsed promised lands or had been spared by magnificent
storms. “All the things you'd expect,” I said.

Rose Rothario let out a strange, sloppy laugh.

“Come on,” I said. “People worship you. That’s pretty clear.”

She pinched the bridge ofher nose, squinting as iffrom pain. Then the

waterworks started up again. “Never mind,” I said, sliding out my hand

SONYA LARSON 61

and rubbing my muscles. My wrist bones shifted, accompanying her sad
song. Icovered them, didn’t look at her. Maybe I’d just wait this one out.

But after a while Rose Rothario quieted. She reached around for the
Gladware and fetched some Kleenex, dabbed her eyes. “T'll tell you what
I would like. | would love to have a photo with you.” She smiled weakly
through her wet face. “That would mean alot to me. To the people in my life.”

Limagined my face immortalized next to Rose Rothario’s. ididn’t
like this move. But if that’s what it took to get her out, to get on. “If it
means a lot to you,” I said.

She rose. Balled the Kleenex in her fist and looked for the spot that
she wanted. I watched her circle the living room, thinking, It’s okay. It'll
only take a second. She traced her steps around the foyer, the mantel,
the photos on the wall. But I knew what she was after. She curled her
hands on it. My chair.

T hesitated, “You’re not going to pest this somewhere, are you?”

“Do you want me to?”

“Never.”

“Thenno,” she said. Istood, shuffled over. The black wood gleamed with
the white lines of ighted grooves. “Do you want to sit in it?” she offered.

“Doesn't matter,” I said. But then I changed my mind. “Actually, yes.
I want to sit in it.” I lowered myself onto the knotty cushion. I rested
my elbows, Beside me Rose Rothario crouched down, touching the
armrest for balance.

“Careful,” I said.

*“Wow-—how old is this?”

“Old,” I said. Rose Rothario knelt on the carpet. She smelled like
peach shampoo. There were squiggly grays in her hair and a bumpy
mole behind her ear.

She fussed with her phone, stuck out her arm. I didn’t know where
to look until she angied it toward me and I saw our faces looking back.
The photo would be fuzzy, rough with sediments of darkness, but I
knew that she would treasure it always. Because the thing about the
dying is they command the deepest respect, respect like an under-
ground river resonant with primordial sounds, the kind of respect that
people steal from one another.

“Ready?” she said. And we peered into her outstretched hand. Isaw
my grandma’s chair. I saw the face of Rose Rothario. I saw that mine
was smiling, next to hers forever.
